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                       Exhibit A
                              Case 2:18-cv-00656-RAJ-DEM Document 88-1 Filed 10/29/19 Page 2 of 3 PageID# 1474
Fees Sought for work performed by Crenshaw, Ware & Martin:
            Time-                     Fee                                                                                                                                                          Agreed
  Date               Time    Rate                                      Plaintiff's Description                                                    Defendants' position
            keeper                   Sought                                                                                                                                                       Amt. of Fee
 7/2/2019    WRS       0.6    $350     $210 Telephone conference and emails with Mr. Klosowski re: lack of discovery        Object to billing for strategy discussions between counsel.                    $0
                                            responses, need for motion to compel, etc.; review prior correspondence to
                                            evaluate strength of motion.
 7/3/2019    DMS         1    $150     $150 Prepare Exhibits A-G to append to Memorandum Support of Motion to               No objection.                                                               $150
                                            Compel; revise Exhibits B-F; electronically file Motion to Compel;
                                            electronically file Memorandum in Support of Motion to Compel with
                                            corresponding Exhibits A-G; email to clients re: same.

 7/3/2019    DCH       4.8    $250   $1,200 Correspondence with co-counsel re: discovery strategy; plan arguments for       Object to the portion of this entry that involves discussions               $600
                                            motion to compel; draft Motion to Compel and Memorandum in Support;             between counsel regarding discovery strategy, but will agree to
                                            correspondence with Mr. Klosowski and clients re: same.                         50% of this entry for simplicity.

 7/3/2019    WRS       5.1    $350   $1,785 Determine need for Motion to Compel and forms of relief available; verify       Object to billing by multiple attorneys for similar tasks, and           $892.50
                                            Rules re: same; draft edits to motion; draft sections of Memorandum in          billing for strategy discussions between counsel, but will agree to
                                            Support; emails with client and co-counsel re: same and approach to             50% of this entry for simplicity.
                                            arguments; confirm filing.
 7/8/2019    WRS       1.4    $350     $490 Confirm lack of discovery responses; evaluate need for Supplement to            Object to paying for work done to "confirm lack of discovery                  $0
                                            Motion to Compel; emails with Mr. Klosowski re: same; draft Notice for          responses" and file a related supplement, particularly since
                                            filing.                                                                         Plaintiff never contacted the Defendants to discuss the discovery
                                                                                                                            schedule after rejecting Defendants' initial requested extension
                                                                                                                            and rushing to filing a Motion to Compel, and for billing for
                                                                                                                            correspondence with other counsel.
 7/8/2019    DCH       0.5    $250     $125 Draft Notice supplementing Motion to Compel re: no discovery responses by See objection above. Defendants also object to billing by                           $0
                                            unilateral extended deadline; confer with Mr. Klosowski re: same.         multiple attorneys on a simple task.
7/18/2019    DCH       1.8    $250     $450 Analyze defendants' untimely opposition to Motion to Compel; confer with        Object to work done drafting a Reply regarding the substance of               $0
                                            partner re: same and consider whether additional relief can be requested        Defendants' objections and responses to Plaintiff's approximately
                                            given further passage of time without substantive responses; evaluate           160 initial Requests for Production, as Plaintiff did not discuss
                                            whether to consent to defendants' forthcoming motion to file late opposition;   the content of Defendants' objections with Defendants at all
                                            receive and review Burlington's untimely objections and responses to            before presenting that argument to the Court. Defendants also
                                            requests for production, conduct legal research to support arguments against    object to paying for time spent discussing strategy with other
                                            Burlington and Phillips' objections and responses and their opposition to the   counsel.
                                            Motion to Compel; draft Reply Brief in Support of Motion to Compel.

7/21/2019    DCH       1.6    $250     $400 Continue conducting legal research and drafting Reply Brief in support of       See objection above, but will agree to this entry for simplicity.           $400
                                            Motion to Compel.
7/22/2019    DCH       3.7    $250     $925 Continue drafting Reply Brief; correspondence to Mr. Klosowski re: same;        See objection above. Defendants also object to billing for time          $462.50
                                            analyze Phillips' objections and responses to document requests.                spent corresponding with other attorneys, and reviewing
                                                                                                                            discovery responses, but will agree to 50% of this entry for
                                                                                                                            simplicity.
7/23/2019    WRS       0.9    $350     $315   Draft edits and additions to Reply Brief in Support of Motion to Compel.      See objections above. Defendants also object to billing by three            $315
                                                                                                                            attorneys on a reply brief in response to a two page opposition,
                                                                                                                            but will agree to this entry for simplicity.
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7/23/2019     DMS         1.2    $150     $180 Prepare Exhibit 1 and Exhibit 2 to append to Reply Brief in Support of          No objection.                                                              $180
                                               Motion to Compel; review Reply Brief; electronically file Reply Brief and
                                               corresponding exhibits.
7/23/2019     DCH         1.9    $250     $475 Continue drafting Reply Brief; correspondence with Mr. Klosowski re:            See objection above. Defendants also object to billing for time         $237.50
                                               same.                                                                           spent corresponding with other attorneys, but will agree to 50%
                                                                                                                               of this entry for simplicity.
7/29/2019     DMS         0.4    $150      $60 Draft Notice re: Motion to Compel; electronically file Notice re: Motion to     No objection.                                                               $60
                                               Compel.
7/29/2019     DCH         0.4    $250     $100 Review, draft, and edit notices to Court re: fully-briefed Motion to Compel. No objection.                                                                 $100

8/22/2019     WRS         4.2    $350 $1,470 Review all discovery propounded and produced to prepare for Motion to             Object to paying fees for preparing for argument, as opposed to              $0
                                             Compel hearing; multiple emails and telephone conference with Mr.                 briefing, motion to compel, and for discussions with other
                                             Klosowski re: same; edit timeline of events; draft outline for argument at        counsel.
                                             hearing
 8/23/2019    WRS        2.1   $350    $735 Prepare for and argue hearing on Motion to Compel; follow-on telephone             See objection above. Defendants also object to billing for time              $0
                                             conference with Mr. Klosowski re: same; receive and review Order on               spent reviewing the Court's Order granting Motion in part.
                                             Motion to Compel.
Fees Sought for work performed by Mr. Klosowski
Date         Time-     Time Rate         Fee                                                                                                                                                         Agreed
                                                                        Plaintiff's Description                                                      Defendants' position
             keeper                     Sought                                                                                                                                                      Amt. of Fee
  7/2/2019    BSK         0.3    $400     $120 Communications with local counsel regarding motion to compel discovery          Object to paying fees for discussions with other counsel                      $0
                                               responses and sanctions.                                                        regarding strategy.
  7/3/2019    BSK         0.4    $400     $160 Communications with local counsel regarding Motion to Compel and                Object to paying fees for discussions with other counsel                     $0
                                               Request for Sanctions; review and approve Motion to Compel and related          regarding strategy, and for billing by three attorneys on the same
                                               memorandum for filing.                                                          motion.
7/18/2019     BSK           1    $400     $400 Receipt and consideration of Burlington's late-filed Opposition to Plaintiffs   Object to paying fees for work in relation to Plaintiff's Reply in           $0
                                               Motion to Compel discovery production; work on Reply to Defendants'             Support of Motion to Compel, particularly since it briefed at
                                               Opposition to [ 40] MOTION to Compel.                                           length issues not first addressed with undersigned counsel, and to
                                                                                                                               billing by multipe attorneys for the same brief.
7/23/2019     BSK         0.6    $400     $240 Continue working on Reply to Defendants' Opposition to Motion to Compel See objection above.                                                                 $0
                                               discovery production.
8/21/2019     BSK         0.4    $400     $160 Receipt and consideration of Court ORDER regarding hearing on Motion to Object to paying fees for reviewing Court Orders, as opposed to                      $0
                                               Compel and related communications from Court.                            briefing, Plaintiff's motion to compel, and for unspecified
                                                                                                                        communications with Court.
8/22/2019     BSK           1    $400     $400 Prepare for telephonic hearing with Court regarding Plaintiffs Motion to Object to paying fees for preparing for hearing, as opposed to                      $0
                                               Compel and communications with local counsel regarding same.             briefing, Plaintiff's motion to compel, further object to work done
                                                                                                                        preparding for hearing as duplicative, particularly since Mr.
                                                                                                                        Snow did all the talking at hearing, and object to paying fees for
                                                                                                                        discussions with other counsel.
8/23/2019     BSK         1.5    $400     $600 Prepare for telephonic hearing with Court regarding Plaintiffs Motion to See objection above. Further object to paying fees for reviewing                    $0
                                               Compel and conference with Court, co-counsel, and opposing counsel       Court Orders.
                                               regarding same; receipt and consideration of ORDER on Motion to Compel.
                                                                                                                        Total amount proposed by Defendnats                                             $3,398
